Case 2:05-cr-20082-.]DB Document 33 Filed 05/24/05 Page 1 of 2 PagelD 25

lN THE UNlTED STATES DlSTR|CT COURT HL"L f "
FOR THE WESTERN D|STR|CT OF TENNESSEE ~;» I,»~ ,, ,

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UN|TED STATES OF AMER|CA
P|aintiff
VS.
CR. NO. 05-20082-B
RODERCUS FREEMAN (c)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DE|_AY
AND SETT|NG

 

This cause came on for a report date on l\/iarch 28, 2005. At that time, counsel for the
defendant requested a continuance of the Apri| 4, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a report
date of Tuesday, May 31, 2005, at 9:30 a.m. Pursuant to the Defendant’s Request for
Hearing on a l\/|otion to Suppress, The Court set the date of N|ay 26, 2005 and subsequently
granted the Defendant’s lVlotion to Continue and re-set the date for a Su[:_ipression
Hearir\glRegort Date for June 23, 2005 at 10:00 a.m., in Courtroom 1, 11th F|oor of the
Federa| Bui|ding, Memphis, TN.

The period from June17, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to

prepare outweigh the need for a speedy trial.

  
 

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with R\iie 55 andlor lebl FHCrP on _,, »LQ_AD_Q.§' '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
ease 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

